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                                                                                                 May 24, 2023
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                                                                                                  7    Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                                       Email: jhoumand@houmandlaw.com
                                                                                                  8    Bradley G. Sims, Esq. (NV Bar No. 11713)
                                                                                                       Email: bsims@houmandlaw.com
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                  9    HOUMAND LAW FIRM, LTD.
                                                                                                       9205 West Russell Road, Building 3, Suite 240
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                 10    Las Vegas, NV 89148
                                                                                                       Telephone: 702/720-3370
HOUMAND LAW FIRM, LTD.




                                                                                                 11    Facsimile:    702/720-3371

                                                                                                 12    Counsel for Shelley D. Krohn, Chapter 7 Trustee
                                                                                             




                                                                                                 13
                                                                                                 14                             UNITED STATES BANKRUPTCY COURT

                                                                                                 15                                      DISTRICT OF NEVADA

                                                                                                 16        In re:                                       Case No. BK-S-21-12443-NMC
                                                                                                                                                        Chapter 7
                                                                                                 17        MONEYLINE ANALYTICS, LLC,
                                                                                                                                                        ORDER GRANTING MOTION TO
                                                                                                 18                   Debtor.                           APPROVE COMPROMISE PURSUANT
                                                                                                                                                        TO FEDERAL RULE OF BANKRUPTCY
                                                                                                 19                                                     PROCEDURE 9019
                                                                                                 20                                                     Date of Hearing:     May 23, 2023
                                                                                                                                                        Time of Hearing:     2:00 p.m.
                                                                                                 21                                                     Place: Courtroom No. 3, Third Floor
                                                                                                                                                                             Foley Federal Building
                                                                                                 22                                                                          300 Las Vegas Blvd., S.
                                                                                                 23                                                                          Las Vegas, NV 89101

                                                                                                 24                                                     Judge: Honorable Natalie M. Cox1

                                                                                                 25
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                                                                                                         In this Order, all references to ECF No.” are to the numbers assigned to the documents filed in
                                                                                                 28    the above-captioned bankruptcy case as they appear on the docket maintained by the clerk of the
                                                                                                       court.
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                                                                                                  1           This matter came before the Court on the Motion to Approve Compromise Pursuant to

                                                                                                  2    Federal Rule of Bankruptcy Procedure 9019 [ECF No. 189] (the “Motion”) filed by Shelley D.

                                                                                                  3    Krohn (the “Trustee”), the Chapter 7 Trustee appointed in the above-captioned bankruptcy case,

                                                                                                  4    by and through her counsel of record, Jacob L. Houmand, Esq. and Bradley G. Sims, Esq. of the

                                                                                                  5    Houmand Law Firm, Ltd. The Motion sought an order approving a settlement agreement (the

                                                                                                  6    “Settlement Agreement”) that resolved certain claims for avoidance of transfers from the Debtor

                                                                                                  7    to Patrick Harris pursuant to Federal Rule of Bankruptcy Procedure 9019.2

                                                                                                  8           No Opposition was filed to the Motion. Bradley G. Sims, Esq. on behalf of the Trustee
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                  9    and no other appearances were noted on the record.
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                 10           The Court reviewed the Motion, the Declaration of Shelley D. Krohn In Support of Motion
HOUMAND LAW FIRM, LTD.




                                                                                                 11    to Approve Compromise Pursuant to Federal Rule of Bankruptcy Procedure 9019 [ECF No. 190],

                                                                                                 12    the Notice of Hearing On Motion to Approve Compromise Pursuant to Federal Rule of
                                                                                             




                                                                                                 13    Bankruptcy Procedure 9019 [ECF No. 191], the Certificate of Service of Motion to Approve

                                                                                                 14    Compromise Pursuant to Federal Rule of Bankruptcy Procedure 9019 [ECF No. 192], the

                                                                                                 15    exhibits attached thereto, and all the pleadings on file herein.

                                                                                                 16           It appearing to the Court that it is in the best interests of the Estate and its creditors to

                                                                                                 17    approve the Settlement Agreement and upon consideration of the pleadings and arguments of

                                                                                                 18    counsel, and based upon the findings of fact and conclusions of law placed on the record at the

                                                                                                 19    hearing and incorporated herein pursuant to Federal Rule of Civil Procedure 52, incorporated by

                                                                                                 20    reference by Federal Rules of Bankruptcy Procedure 7052 and good cause appearing,

                                                                                                 21           IT IS HEREBY ORDERED that:

                                                                                                 22           1.      The Motion is GRANTED in its entirety; and

                                                                                                 23    ...

                                                                                                 24    ...

                                                                                                 25    ...

                                                                                                 26    ...

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                                                                                                 28     All defined terms in this Order shall have the same meaning ascribed to them in the Motion
                                                                                                       unless otherwise provided herein.
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                                                                                                  1           2.     The Settlement Agreement, a copy of which is attached hereto and marked as

                                                                                                  2    Exhibit “1”, is approved pursuant to Federal Rule of Bankruptcy Procedure 9019 and the

                                                                                                  3    provisions thereof are made an order of the Court.

                                                                                                  4           IT IS SO ORDERED.

                                                                                                  5    Prepared and submitted by:

                                                                                                  6    HOUMAND LAW FIRM, LTD.

                                                                                                  7    By: /s/ Bradley G. Sims
                                                                                                       Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                                  8    Bradley G. Sims, Esq. (NV Bar No. 11713)
                                                                                                       9205 West Russell Road, Building 3, Suite 240
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                  9    Las Vegas, NV 89148
                                                                                                       Telephone:       702/720-3370
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                 10    Facsimile:       702/720-3371
HOUMAND LAW FIRM, LTD.




                                                                                                 11    Counsel for Shelley D. Krohn, Chapter 7 Trustee

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                                                                                                  1                                  LOCAL RULE 9021 CERTIFICATE

                                                                                                  2           In accordance with Local Rule 9021, counsel submitting this document certifies that the

                                                                                                  3    order accurately reflects the court’s ruling and that:

                                                                                                  4           The Court has waived the requirements set forth in Local Rule 9021(b)(1).

                                                                                                  5
                                                                                                  6           No party appeared at the hearing or filed an objection to the Motion.

                                                                                                  7
                                                                                                  8           I have delivered a copy of this proposed order to all counsel who appeared at the hearing,
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                                              any unrepresented parties who appeared at the hearing, and each has approved or
                                                                                                  9           disapproved the order, or failed to respond, as indicated below:
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                 10
HOUMAND LAW FIRM, LTD.




                                                                                                 11           I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order
                                                                                                              with the motion pursuant to Local Rule 9014(g), and that no party has objected to the form
                                                                                                 12           or content of the order.
                                                                                             




                                                                                                 13
                                                                                                 14           Dated this 23rd day of May, 2023.

                                                                                                 15                                                       HOUMAND LAW FIRM, LTD.

                                                                                                 16
                                                                                                                                                          By: /s/ Bradley G. Sims
                                                                                                 17                                                       Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                                                                                          Bradley G. Sims, Esq. (NV Bar No. 11713)
                                                                                                 18                                                       9205 West Russell Road, Building 3, Suite 240
                                                                                                                                                          Las Vegas, NV 89148
                                                                                                 19                                                       Telephone: 702/720-3370
                                                                                                                                                          Facsimile: 702/720-3371
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                                                                                                 21                                                       Counsel for Shelley D. Krohn, Chapter 7 Trustee

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